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                                            Hearing Date: March 7, 2019, at 10:00 a.m. (prevailing Eastern Time)
                                      Response Deadline: February 4, 2019, at 4:00 p.m. (prevailing Eastern Time)

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     UNITED STATES BANKRUPTCY COURT
     SOUTHERN DISTRICT OF NEW YORK

                                                                 )
     In re:                                                      )      Chapter 11
     INTERNATIONAL SHIPHOLDING                                   )
     CORPORATION, et al.,1                                       )      Case No. 16-12220 (SMB)
                                                                 )
                               Reorganized Debtors.              )      Jointly Administered
                                                                 )

            RESPONSE OF THE REORGANIZED DEBTORS TO MOTION OF
       THE GUC TRUSTEE TO ENFORCE THE PLAN AND CONFIRMATION ORDER

            The Reorganized Debtors hereby file this response (the “Response”) to the Motion of the

 GUC Trustee to Enforce the Plan and Confirmation Order with Respect to the Reorganized

 Debtors’ Responsibility to Defend Asbestos Claims, Relieving Stay and Injunction, and Approving

 the GUC Trustee’s Right Not to Defend Asbestos Claims [Docket No. 1047] (the “Motion”).2 In

 support of this Response, the Reorganized Debtors respectfully state as follows:




 1 The Reorganized Debtors in these cases, along with the last four digits of each Reorganized Debtor’s federal tax
 identification number, are: International Shipholding Corporation (9662); Central Gulf Lines, Inc. (8979); Coastal
 Carriers, Inc. (6278); Waterman Steamship Corporation (0640); N.W. Johnsen & Co., Inc. (8006); Tower LLC (6755);
 Frascati Shops, Inc. (7875); Gulf South Shipping PTE LTD (8628); and LCI Shipholdings, Inc. (8094). The service
 address for each of the above Reorganized Debtors is 2200 Eller Drive, P.O. Box 13038, Fort Lauderdale, FL 33316.
 2   Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.


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                                     PRELIMINARY STATEMENT

         By the Motion, the GUC Trustee attempts to revise the unambiguous language of the

 confirmed Plan to reallocate the burden of resolving General Unsecured Claims. A Plan that was

 a product of arms-length negotiations between the Debtors and the Committee. The Asbestos

 Claims at issue have been filed as general unsecured claims. No request has been made by any

 party to elevate or otherwise change this status. Nor has any request been made to determine that

 these claims were not discharged by the Plan. Therefore, only beneficiaries of the GUC Trust as

 holders of General Unsecured Claims will be impacted by the allowance of the Asbestos Claims.

 Under the Plan, the Reorganized Debtors owe no duty to the GUC Trust or its beneficiaries to

 administer General Unsecured Claims, including Asbestos Claims. Rather, the GUC Trustee is

 charged with these tasks, and cannot now transfer such obligations to the Reorganized Debtors.

                                             BACKGROUND

         A.          The Asbestos Claims

         1.          Debtors Waterman Steamship Corporation (“Waterman”) and Central Gulf Lines,

 Inc. (“Central Gulf”) are named as defendants in lawsuits claiming damages related to asbestosis

 and asbestos-related malignancies. As of the Petition Date, Waterman and Central Gulf were

 named as defendant in 98 and 37 lawsuits, respectively, in various state and federal courts arising

 from asbestos-related claims. See Disclosure Statement for First Amended Joint Chapter 11 Plan

 of Reorganization for International Shipholding Corporation and Its Affiliated Debtors [Docket

 No. 537] (the “Disclosure Statement”) § 3.1(d).

         2.          Of the approximately 1,398 proofs of claim filed against the Debtors, 816 of such

 proofs of claim asserted general unsecured claims against Waterman, Central Gulf, and Sulphur

 Carriers Inc. related to alleged exposure to asbestos onboard the Debtors’ vessels (collectively, the

 “Asbestos Claims”). The amounts asserted in the Asbestos Claims ranged from $150,000 to

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 $3,000,000, with the majority alleged to be $1,000,000. The Asbestos Claims, however, did not

 include any specific information regarding the date of alleged diagnosis or the methodology used

 to calculate the Debtors’ alleged liability. See Debtors’ Determination Motion with Respect to

 Certain Litigation Claims Solely for Voting Purposes Pursuant to Bankruptcy Rule 3018 [Docket

 No. 581] (the “Disallowance Motion”) ¶ 11.

         3.          Of the 816 Asbestos Claims that were filed, 744 of such claims were dismissed in

 federal court for lack of personal jurisdiction. In addition, forty-six additional claims have been

 dismissed on the “bankruptcy-only-docket.”3 Seven claims were dismissed for other reasons. Of

 the remaining claims, the Debtors’ believed their aggregate liability was approximately $0 as a

 result of the prior dismissals and settlements. See Disclosure Statement § 5.12, n.31; Disallowance

 Motion ¶ 14.

         4.          As a result of an agreement with counsel for the holders of a majority of the

 Asbestos Claims, on February 15, 2017, the Order Granting Debtors’ Determination Motion with

 Respect to Certain Litigation Claims Solely for Voting Purposes Pursuant to Bankruptcy Rule

 3018 was entered [Docket No. 636] (the “Determination Order”). The Determination Order

 included schedules setting forth temporary allowance of Asbestos Claims based on the nature of

 the alleged injury and whether the underlying litigation had been dismissed.

         B.          The Plan and the GUC Trust Agreement

         5.          The Plan was confirmed by this Court’s entry of the Confirmation Order on March

 2, 2017 [Docket No. 671], and the Effective Date occurred on July 3, 2017 [Docket No. 796]. On




 3 The “bankruptcy-only-docket” means that claims against all entities who were not subject to a bankruptcy
 proceeding at the time the applicable order was entered were dismissed and only claims against entities in bankruptcy
 at the time of the dismissal survived. Disallowance Motion ¶14.

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 the Effective Date, the GUC Trustee and the Reorganized Debtors executed the GUC Trust

 Agreement. See Plan § 9.2.2.

         6.          The Plan reflects a settlement reached by the Debtors and the Unsecured Creditors

 Committee (the “Committee”) with respect to the treatment of the Debtors’ general unsecured

 creditors. As part of such settlement, the Debtors and the Committee agreed to the formation of

 the GUC Trust for the benefit of the holders of allowed general unsecured claims against the GUC

 Trust Debtors, including the Asbestos Claims. 4 Accordingly, on the Effective Date, the GUC

 Trustee and the Reorganized Debtors executed the GUC Trust Agreement and the GUC Trustee

 was appointed. See Plan §§ 9.2.2; 9.5.

         7.          The GUC Trust Agreement provides that the GUC Trust was created “for the sole

 purpose of collecting, holding, administering, liquidating and distributing the [GUC] Trust Assets

 for the benefit of the holders of [GUC] Claims [against the GUC Trust Debtors].”5 See GUC Trust

 Agreement §§ 1.3.1; 1.3.3; 2.2. The Asbestos Claims were filed as, and remain, GUC Claims

 against the GUC Trust Debtors and, therefore, are claims to be administered by the GUC Trust.

         8.          On the Effective Date, the GUC Trust Assets automatically vested in the GUC Trust,

 free and clear of all claims and interests. See Plan § 9.3.1. As defined in the Plan, the GUC Trust

 Assets consist of “(a) $3 million in Cash and (b) the GUC Trust Causes of Action,” and the GUC

 Trust Causes of Action include “any defense or counterclaim relating to any Disputed General

 Unsecured Claims.” See id. §§ 1.1.66; 1.1.68. Upon the transfer of the GUC Trust Assets to the

 GUC Trust on the Effective Date, the GUC Trust stepped into the shoes of the Debtors with respect



 4 Pursuant to the terms of the Plan, separate treatment was agreed to by the Debtors and the Committee with respect
 to general unsecured claims against LCI Shipholdings, Inc., Gulf South Shipping PTE LTD, and Marco Shipping
 Company PTE LTD, and such claims were outside the scope of the GUC Trust. See Plan § 3.3.7(b).
 5 The GUC Trust Debtors included all of the Debtors except Gulf South Shipping PTE LTD., LCI Shipholding, Inc.
 and Marco Shipping Company PTE LTD. Plan § 1.1.69.

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 to the GUC Claims, including the Asbestos Claims, and the Debtors ceased to have any interest in

 or with respect to the GUC Trust Assets or the GUC Trust. See id. § 9.3.1; GUC Trust Agreement

 § 2.3.2 (“On the Effective Date, the [GUC] Trust shall stand in the shoes of the Debtors for all

 purposes with respect to the [GUC] Trust Assets and administration of the [GUC] Claims.”).

         C.          The GUC Trustee’s Motion to Compel

         9.          On November 28, 2018, the GUC Trustee filed the Motion asserting, among other

 things, that the Reorganized Debtors, and not the GUC Trustee, are obligated to defend the

 Asbestos Claims. See Motion ¶ 20. A hearing on the Motion is currently scheduled before this

 Court for March 7, 2019.

                                               RESPONSE

         A.          The GUC Trustee is Responsible for Liquidating GUC Claims

         10.         By the Motion, the GUC Trustee incorrectly asserts that the Reorganized Debtors

 are responsible for defending, or reimbursing the GUC Trust for defending, asbestos-related causes

 of action that were transferred to the GUC Trust as GUC Trust Assets on the Effective Date.

 Contrary to the assertions of the GUC Trustee, the plain language of the Plan and the GUC Trust

 Agreement clearly establish that following the creation of the GUC Trust and the transfer of the

 GUC Trust Assets on the Effective Date, the Reorganized Debtors ceased to have any liability

 with respect to the GUC Trust Assets, including the GUC Trust Causes of Action and, therefore,

 the Reorganized Debtors do not have any obligation to defend the causes of action underlying the

 Asbestos Claims or reimburse the GUC Trust for any of its costs in doing so.

         11.         The GUC Trustee Agreement clearly sets forth the responsibility of the GUC Trust

 for the administration of General Unsecured Claims.

                     3.5    Responsibility for Administration of Claims. As of the
                     Effective Date, the Trust shall become responsible for
                     administering and paying distributions to the holders of Allowed

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                     Claims entitled to receive distributions from the Trust pursuant to
                     the Plan. The Debtors or the Reorganized Debtors, as applicable,
                     shall have the authority to file, settle, compromise, withdraw or
                     litigate to judgment any objections to claims as permitted under the
                     Plan; provided, however, that, subject to section 6.2 of the Plan, the
                     Trustee and the Debtors or the Reorganized Debtors, as applicable,
                     shall have the joint authority to file, settle, compromise, withdraw
                     or litigate to judgment any objection to General Unsecured Claims
                     in accordance with the terms of this Agreement; provided further,
                     however, that the Debtors or the Reorganized Debtors, as applicable,
                     shall provide notice prior to seeking the reclassification of any claim
                     to a General Unsecured Claim and the GUC Trust shall have
                     standing to object to such reclassification. The Trust shall have the
                     right to object to the allowance of any claim on any ground and
                     shall be entitled to assert all defenses of the Debtors and their
                     Estates. The Trust shall also be entitled to assert all of the Estates’
                     rights under applicable law, including, without limitation, section
                     558 of the Bankruptcy Code. The Trust may also seek estimation
                     of any General Unsecured Claims under and subject to section
                     502(c) of the Bankruptcy Code.

 GUC Trustee Agreement § 3.5. (emphasis added) See also, Plan § 6.2. While the Reorganized

 Debtors have authority to object to General Unsecured Claims, it is the GUC Trust that has the

 responsibility for “administering and paying distributions to the holders of Allowed Claims.”

         12.         Further, the actions and defenses underlying the Asbestos Claims are GUC Causes

 of Action that were transferred to the GUC Trust as GUC Trust Assets on the Effective Date. See

 Plan §§ 1.1.66; 1.1.68. Section 1.1.66 of the Plan defines GUC Trust Assets as “(a) $3 million in

 Cash and (b) the GUC Trust Causes of Action.” Plan § 1.1.66. Further, section 1.1.68 of the Plan

 defines GUC Trust Causes of Action to include “any defense or counterclaim relating to any

 Disputed General Unsecured Claims.” Plan § 1.1.68. No party has established, or has sought to

 establish, that the Asbestos Claims are not GUC Claims or that the actions underlying the Asbestos

 Claims are not GUC Causes of Action, and the GUC Trustee does not dispute the nature of the

 Asbestos Claims in the Motion. This alone should foreclose the GUC Trustee’s argument.




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         13.         Moreover, the Asbestos Claims were filed as general unsecured claims and,

 therefore, are properly administered by the GUC Trust and not the Reorganized Debtors. Once the

 GUC Trust Assets were transferred to the GUC Trust, the Reorganized Debtors ceased to have any

 responsibility with respect to such assets. See Plan §§ 9.3.1 (“Upon the transfer of the GUC Trust

 Assets, the Debtors shall have no interest in or with respect to the GUC Trust Assets or the GUC

 Trust.”); 9.1 (“The Debtors shall transfer, without recourse, to the GUC Trust all of their right,

 title and interest in the GUC Trust Assets. Upon the transfer by the Debtors of the GUC Trust

 Assets to the GUC Trust, the Debtors will have no reversionary or further interest in or with respect

 to the GUC Trust Assets or the GUC Trust.”) (emphasis added); see also GUC Trust Agreement

 § 2.3.2 (“On the Effective Date, the [GUC] Trust shall stand in the shoes of the Debtors for all

 purposes with respect to the [GUC] Trust Assets and administration of the [GUC] Claims.”).

 Indeed, the Plan provides that following the Effective Date, the GUC Trustee—not the

 Reorganized Debtors—is the party with standing to prosecute, defend, or settle the GUC Causes

 of Action. See Confirmation Order at p. 15 (“On and after the Effective Date, the Reorganized

 Debtors may . . . prosecute, compromise or settle any . . . Causes of Action (that are not GUC

 Trust Causes of Action).”) (emphasis added); see also Plan § 9.6 (“The GUC Trustee

 shall . . . prosecute any GUC Trust Causes of Action”).

         14.         It is clear from the plain language of the Plan and the GUC Trust Agreement that

 the Asbestos Claims and the causes of action related thereto were transferred to the GUC Trust as

 of the Effective Date. Accordingly, the Reorganized Debtors have no interest in, and are no longer

 liable with respect to, the defense of the Asbestos Claims.

         15.         In paragraph 10 of the Motion, the GUC Trustee asserts that the Reorganized

 Debtors have an obligation to defend the Asbestos Claims by quoting only part of the first sentence



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 of section 6.2 of the Plan. Upon review of the entire first sentence of section 6.2 of the Plan, it is

 clear that while the Reorganized Debtor has the authority to object to General Unsecured Claims,

 the primary responsibility to do so falls on the GUC Trustee.

                     The Debtors or the Reorganized Debtors, as applicable, shall have
                     the exclusive authority to file, settle, compromise, withdraw or
                     litigate to judgment any objections to Claims as permitted under the
                     Plan; provide, however, that the GUC Trustee and the Debtors or the
                     Reorganized Debtors, as applicable, shall have the joint authority to
                     file, settle, compromise, withdraw or litigate to judgment any
                     objection to General Unsecured Claims in accordance with the terms
                     of the GUC Trust Agreement; provided further, however, that the
                     Debtors or the Reorganized Debtors, as applicable, shall provide
                     notice prior to seeking the reclassification of any Claim to a General
                     Unsecured Claim and the GUC Trust shall have standing to object
                     to such reclassification.

 Plan § 6.2. This allocation of authority and responsibility to object to General Unsecured Claims

 is consistent with the structure of the Plan and the settlement with the Committee. General

 Unsecured Claims receive their recovery from the GUC Trust, not the Reorganized Debtors. The

 Reorganized Debtors generally have no financial stake in the outcome of objections to the

 allowance of General Unsecured Claims and has no obligations to the beneficiaries of the GUC

 Trust. While the Reorganized Debtors have the authority to object to all Claims, regardless of

 classification, they have no obligation to do so. The GUC Trustee, on the other hand, not only has

 the authority to object to General Unsecured Claims, but has the responsibility to do so, in a

 prudent manner. The GUC Trust assets are a finite pool of assets to be distributed on a pro rata

 basis. Thus, in administering the GUC Trust, the GUC Trustee has an incentive to object to invalid

 claims. In fact, the GUC Trustee has filed numerous claim objections. See Docket Nos. 908 and

 909. Because the Reorganized Debtors have no financial stake in the allowance of the Asbestos

 Claims and have no obligations to the GUC Trust or its beneficiaries, the Reorganized Debtors

 could simply waive all objections to the Asbestos Claims.


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            B.       The Availability of Insurance for the Asbestos Claims Does Not Alter the
                     Responsibility of Liquidating the Asbestos Claims

            16.      As the GUC Trustee acknowledges in the Motion, the Asbestos Claims are covered

 by insurance policies and/or indemnity. See Motion ¶¶ 12-14. The Plan and Disclosure Statement

 provide that with respect to claims covered by insurance or indemnity, the GUC Trust, Debtors or

 Reorganized Debtors shall not have any liability unless and until the claimants have exhausted

 their remedies against the applicable insurance policies.        See Disclosure Statement § 13.5

 (“Holders of Claims that are covered by the Debtors’ insurance policies shall seek payment of such

 Claims from applicable insurance policies”); Plan § 6.5.1 (“No distributions under the Plan shall

 be made on account of an Allowed Claim that is payable pursuant to one of the Debtors’ insurance

 policies until the holder of such Allowed Claim has exhausted all remedies with respect to such

 insurance policy.”). Further, the Plan provides that “the Debtors or Reorganized Debtors, as

 applicable, shall have no obligation to pay any amounts in respect of prepetition deductibles.” Plan

 § 6.5.1.

            17.      The Asbestos Claims are covered by insurance or an indemnity agreement and that

 each applicable insurance policy or indemnity agreement contains a “pay to be paid” provision,

 obligating a party to expend defense costs and satisfy damages before being reimbursed. 6

 Accordingly, before the holder of an Asbestos Claim is entitled to seek any distribution from the

 GUC Trust pursuant to the terms of the Plan, it is the holder’s responsibility to (i) liquidate the

 claim through either resolution of litigation or settlement and (ii) seek payment of such claim from

 applicable insurance. See Plan § 6.5.1. The GUC Trustee does not assert that any holder of an

 Asbestos Claim has satisfied either of these requirements. If the holder of an Asbestos Claim

 establishes that it has liquidated its claim and sought payment from the applicable insurance


 6   See Disclosure Statement, § 3.1(d), fn. 26.

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 policies, to the extent the Asbestos Claim was not fully satisfied, such claim would become a

 General Unsecured Claim, payable from the GUC Trust. See id. Now that the Effective Date has

 occurred and the GUC Trust has been established, there is simply no reading of the Plan that would

 hold the Reorganized Debtors responsible for the payment of an Asbestos Claim (or any other

 general unsecured claim). Further, the Plan explicitly provides that the Reorganized Debtors “shall

 have no obligation to pay any amounts in respect of pre-petition deductibles.” See id. If the GUC

 Trustee wants to defend the Asbestos Claims or the underlying litigation in respect of such claims,

 the GUC Trust needs to advance funds to the applicable claimant and, subsequently, seek

 reimbursement from the applicable insurance policy. Accordingly, the terms of the Plan clearly

 provide that the Reorganized Debtors are not responsible for the payment of Asbestos Claims or

 to incur defense costs (or reimburse the GUC Trust for such defense costs) in respect of asbestos-

 related causes of action. For these reasons, the Motion should be denied in its entirety.

          C.         Any Obligations of the Reorganized Debtors Under the Insurance Policies is
                     Conditional

          18.        The Liquidating Trustee inaccurately asserts that through the asbestos policies, the

 Reorganized Debtors must defend and pay the Asbestos Claims to obtain coverage for the benefit

 of the GUC Trust and its beneficiaries. In paragraph 26 of the Motion, the GUC Trustee omits the

 conditionality of any obligation of the Reorganized Debtors to perform any obligations under the

 Insurance Policies. The penultimate sentence of section 6.5.3 provides, “[t]o the extent that any

 such claims have not been satisfied or discharged in the Chapter 11 cases, the Reorganized

 Debtors will comply with any valid, contractual obligations they may have under the Asbestos

 Policies as applicable.” Plan § 6.5.3 (emphasis added).7 The Reorganized Debtors’ obligations to



 7 Pursuant to Plan § 7.1, Allowed Claims are satisfied by any Plan Distributions and deliveries to be made on account
 of such Allowed Claims.

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 perform under the Insurance Policies is expressly conditioned on the Asbestos Claims being

 determined to be excepted from the discharge or not otherwise being satisfied under the Plan.8

 The Asbestos Claims have been discharged and will be satisfied by their treatment under the Plan.

 Plan § 7.1.     The asbestos policies were not deemed rejected and remain available to the

 Reorganized Debtors in the event that certain Asbestos Claims are not discharged. This provision

 does not amount to an assumption of an obligation to defend the Asbestos Claims for the benefit

 of the GUC Trust. Likewise, the GUC Trustee attempts to lift provisions of section 6.5.1 of the

 Plan out of content to contort the meaning. Section 6.5.1 of the Plan allows insured claims to

 liquidate their claims and collect from applicable insurance policies. Any unpaid portion of the

 Claim is an Allowed General Unsecured Claim which is payable from the GUC Trust. The

 Reorganized Debtors are not required to fund deductibles in order to trigger coverage. These plan

 provisions do not create an obligation to the GUC Trust for the Reorganized Debtors to assume

 the defense of the Asbestos Claims and fund amounts to access coverage. In fact, the contrary

 result is dictated by the language of these Plan provisions.

         D.          The GUC Trustee is Attempting to Retrade the Settlement with the
                     Committee

         19.         As described above, the creation and funding of the GUC Trust under the Plan was

 a result of a settlement with the Committee. Three million dollars in cash and other assets were

 transferred to the GUC Trust. The history and scope of the issues involving the Asbestos Claims

 were spelled out in the Disclosure Statement, the Determination Motion, and the Determination

 Order. In fact, the Disclosure Statement specifically cautions that the Asbestos Claims could dilute

 creditor recoveries. Disclosure Statement, § 10.1(e). The vast majority of Asbestos Claims were



 8“[W]hen interpreting a contract the entire contact must be considered so as to give each part meaning.” See Brooke
 Group v JCH Syndicate 488, 640 N.Y.2d 530, 533 (1996).

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 filed by a single law firm. The majority of these claims have been dismissed in the underlying

 litigation as described in the Determination Motion and Determination Order. The GUC Trust

 states that the Reorganized Debtors have the records associated with the Asbestos Claims, but does

 not allege that they have requested those records or sought to employ the Debtors’ former counsel

 in the asbestos cases to assist in resolving the Asbestos Claims. The GUC Trustee now finds that

 the task of liquidating the General Unsecured Claims may be more costly and time consuming than

 he originally anticipated. However, that is the responsibility of the GUC Trustee, not the

 Reorganized Debtors. Rather than complying with his responsibilities under the GUC Trust

 Agreement, the GUC Trustee improperly seeks to (i) to modify the confirmed Plan to place new

 burdens on the Reorganized Debtors, and (ii) to modify the plan injunction without a sufficient

 showing of either standing or cause that would justify those changes.9 Contrary to the assertions

 of the GUC Trustee, the Reorganized Debtors would be saddled with the direct and indirect costs

 of administering the claims, potential exposure on the deductibles and risks associated with

 collection under the insurance policies and indemnification agreements. None of these burdens of

 the administration of unsecured claims were placed upon the Reorganized Debtors.

                                                CONCLUSION

         WHEREFORE, for the reasons set forth herein, the Reorganized Debtors respectfully

 request that this Court (i) deny the relief requested in the Motion, (ii) hold that the Reorganized

 Debtors are not obligated to defend the Asbestos Claims, and (iii) grant such other and further

 relief as may be appropriate.




 9In connection with the GUC Trustee’s reservation of rights to seek reimbursement of costs and expenses associated
 with the administration of Asbestos Claims, the Reorganized Debtors reserve their rights concerning such costs and
 expenses.

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